              Case 4:09-cr-00043-SPF Document 162-2 Filed in USDC ND/OK on 09/25/09 Page 1 of 1
 O'Reily, Charles A. (TAX)

  From: Oscar Stilley (oscar~oscarstilley.com)
  Sent: Friday, September 25,20094:50 PM
  To: O'Reilly, Charles A. (TAX); Lindsey Springer
  Cc: Snoke, Ken (USAOKN); Hall, Kathie (USAOKN)
  Subject: RE: Proposed Deposition Pursuant to Rule 15 of Vikki Wiggins

Gentlemen:

i oppose this motion for several reasons. Amongst others, it takes up roughly 10% of the time between now and triaL. i don't
see how we can justify taking this much time on a single witness. Working this into an already tight schedule is going to be very
difficult. i haven't seen Ms. Wiggins' facts and evidence, but I would think that the better solution is to accommodate her as
much as possible on the travel arrangements and wait time, and simply let her testify in triaL.

Please let me see the facts Ms. Wiggins puts forth, as soon as it is available to you. If such information changes my mind I will     let
you know.

Thanks very much,

Oscar Stilley
os

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government. Suspended in some but not all other jurisdictions to which Attorney is admitted. Ask for details, it's complicated.)

From: O'Reily, Charles A. (TAX) (mailto:Charles.AO'Reilly(Qusdoj.gov)
Sent: Friday, September 25,20099:25 AM
To: Oscar Stilley; Lindsey Springer
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Subject: Proposed Deposition Pursuant to Rule 15 of Vikki Wiggins

Mssrs. Springer and Stilley:

We have been informed by Ms. Wiggins that her health does not permit her to travel. She has indicated she will forward a letter
from her doctor attesting to this fact. We intend to ask the Court to authorize a deposition pursuant to Rule 15 of the Federal
Rules of Criminal Procedure. As part of that motion, we would like to be able to inform the Court of your position with respect to
that motion.

Thank you in advance for your attention.

 Charles O'Reilly
 Special Assistant U.S. Attorney


  9/25/2009
